     Case 2:11-cr-00223-JAD-CWH      Document 140        Filed 11/28/12   Page 1 of 1




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6                              UNITED STATES DISTRICT COURT

7                                     DISTRICT OF NEVADA

8                                                ***

9      UNITED STATES OF AMERICA,                      Case No. 2:11-cr-00223-MMD-CWH
10                                       Plaintiff,                   ORDER
11            v.
12     MICHAEL FEHLMAN, aka Mike Fehl,
13                                    Defendant.
14

15            On November 20, 2012, the court granted Michael P. Kimbrell’s “Motion to

16     Withdraw” (dkt. no. 131) and ordered new counsel appointed (dkt. no. 137).

17            IT IS HEREBY ORDERED that Benjamin C.             Durham, Esq. is appointed as

18     counsel for Michael Fehlman in place of Michael P. Kimbrell, Esq. for all further

19     proceedings.

20            IT IS FURTHER ORDERED that Mr. Kimbrell shall forward the file to Mr. Durham

21      forthwith.

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23            DATED this 28th day of November, 2012.

24            Nunc Pro Tunc Date: November 27, 2012.

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26                                              MIRANDA M. DU
                                                UNITED STATES DISTRICT JUDGE
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